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03/22/2019 09:06 AM CDT




                                                        - 395 -
                                  Nebraska Supreme Court A dvance Sheets
                                          302 Nebraska R eports
                                        CHASE COUNTY v. CITY OF IMPERIAL
                                                Cite as 302 Neb. 395



                              Chase County, a political subdivision of the
                                State of Nebraska, appellee, v. City of
                                  Imperial, a political subdivision of
                                  the State of Nebraska, appellant.
                                                    ___ N.W.2d ___

                                          Filed March 8, 2019.    No. S-17-813.

                1.	 Summary Judgment: Appeal and Error. In reviewing a summary
                    judgment, the court views the evidence in the light most favorable to the
                    party against whom the judgment was granted and gives such party the
                    benefit of all reasonable inferences deducible from the evidence.
                2.	 Declaratory Judgments: Appeal and Error. In an appeal from a
                    declaratory judgment, an appellate court, regarding questions of law, has
                    an obligation to reach its conclusion independently of the conclusion
                    reached by the court below.
                3.	 Administrative Law: Statutes: Appeal and Error. The interpretation
                    of statutes and regulations presents questions of law, in connection with
                    which an appellate court has an obligation to reach an independent con-
                    clusion irrespective of the decision made by the court below.
                4.	 Declaratory Judgments: Justiciable Issues. Declaratory judgments
                    are available when a present actual controversy exists, all interested
                    persons are parties to the proceedings, and a justiciable issue exists for
                    resolution.
                5.	 Justiciable Issues. A justiciable issue requires a present, substantial
                    controversy between parties having adverse legal interests susceptible to
                    immediate resolution and capable of present judicial enforcement.
                6.	 Declaratory Judgments: Justiciable Issues. At the time that the decla-
                    ration is sought, there must be an actual justiciable issue from which the
                    court can declare law as it applies to a given set of facts.
                7.	 Declaratory Judgments. A declaratory judgment action can afford no
                    relief to one who has failed to pursue a full, adequate, and exclusive
                    statutory remedy.
                              - 396 -
           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
                CHASE COUNTY v. CITY OF IMPERIAL
                        Cite as 302 Neb. 395
   Petition for further review from the Court of Appeals,
Pirtle, R iedmann, and Bishop, Judges, on appeal thereto from
the District Court for Chase County, David W. Urbom, Judge.
Judgment of Court of Appeals reversed with directions.
   Joshua J. Wendell, of McQuillan &amp; Wendell, P.C., L.L.O.,
for appellant.
  Arlan G. Wine, Chase County Attorney, for appellee.
   Andre R. Barry and Nathan D. Clark, of Cline, Williams,
Wright, Johnson &amp; Oldfather, L.L.P., for amicus curiae League
of Nebraska Municipalities.
  Katharine L. Gatewood, Deputy Sarpy County Attorney, for
amicus curiae Sarpy County.
  Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke, and
Freudenberg, JJ.
   Funke, J.
   The issue presented is which governmental agency, under
Nebraska’s statutory scheme, is financially responsible for
medical services received by a person who is arrested, detained,
taken into custody, or incarcerated. The district court found that
the City of Imperial, Nebraska (Imperial), was responsible for
the payment of $436 in medical costs incurred by an arrestee.
The Nebraska Court of Appeals reversed the district court’s
decision and determined Chase County, Nebraska (Chase), to
be the responsible party. Upon further review, we determine
that declaratory judgment is not available, because the record
does not show the existence of a justiciable controversy. The
judgment of the Court of Appeals is reversed with directions to
reverse and vacate the judgment of the district court.
                      BACKGROUND
  At approximately 10:30 p.m. on December 24, 2016, an
Imperial police officer arrested an individual for disturbing
                                    - 397 -
               Nebraska Supreme Court A dvance Sheets
                       302 Nebraska R eports
                     CHASE COUNTY v. CITY OF IMPERIAL
                             Cite as 302 Neb. 395
the peace and transported him to the Chase County jail for
booking. Because the arrestee was heavily intoxicated and
belligerent and was unable to answer questions during the
booking process, the jail personnel requested that the arrestee
be medically cleared before he was admitted into the jail facil-
ity. The arresting officer transported the arrestee to the Chase
County hospital for a physical examination, which indicated
that the arrestee had no medical conditions that would endan-
ger another person or himself if placed in the jail. Shortly after
midnight, the arresting officer returned the arrestee to the jail
with a medical authorization form, the arrestee cooperated with
the booking process, the agencies completed a custody authori-
zation form, and the admission process was finalized.
   Following these events, the hospital submitted a medical bill
in the amount of $436 to Chase, and later to Imperial. Each
party declined payment and contended that the other party was
responsible for the payment.

                         District Court
   Chase filed an action for declaratory judgment in district
court and moved for summary judgment, seeking a determi-
nation that Imperial was solely responsible for the medical
charges. The district court granted the motion based on its
interpretation of Nebraska’s statutory scheme governing the
payment of medical services for persons who are arrested,
detained, taken into custody, or incarcerated.1 The court
also based its decision on the “Standards for Jail Facilities”
regulations.2
   The court’s order laid out the relevant statutory provisions,
beginning with § 47-701(1), which provides: “Notwithstanding
any other provision of law, sections 47-701 to 47-705 shall
govern responsibility for payment of the costs of medical serv­
ices for any person ill, wounded, injured, or otherwise in need

 1	
      Neb. Rev. Stat. §§ 47-701 to 47-705 (Reissue 2010 &amp; Cum. Supp. 2016).
 2	
      See 81 Neb. Admin. Code, chs. 1 (2014) and 4 (2012).
                              - 398 -
           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
                CHASE COUNTY v. CITY OF IMPERIAL
                        Cite as 302 Neb. 395
of such services at the time such person is arrested, detained,
taken into custody, or incarcerated.” Section 47-702 sets forth
that the recipient of the medical services, or the individual’s
insurer or another available source, is primarily responsible
for the payment of medical services. Upon a showing that
the recipient or its insurer cannot pay the medical provider
in whole or in part, § 47-703(1) provides that “the costs of
medical services shall be paid by the appropriate governmental
agency.” The district court proceeded to determine whether
Chase or Imperial was “the appropriate governmental agency”
to be held responsible for the medical costs.
   The first sentence of § 47-703(2) provides that medical
serv­ices necessitated by injuries or wounds suffered during the
course of apprehension or arrest shall be paid by “the appre-
hending or arresting agency and not the agency responsible for
operation of the institution or facility in which the recipient of
the services is lodged.” The second sentence of § 47-703(2)
provides that “[i]n all other cases, the appropriate governmen-
tal agency shall be the agency responsible for operation of the
institution or facility in which the recipient of the services is
lodged . . . .”
   The court determined that the medical charges were not for
injuries suffered during the arrest and were not for medical
services required for an individual confined in jail. The court
articulated that “[t]he determining factor to transfer the obli-
gation from the arresting agency to the facility receiving the
prisoner rests on the term ‘lodged.’”
   The court relied on a dictionary to define the word “‘lodged’
as (a) to provide temporary quarters for; [or] (b) to establish
or settle in place.” The court also considered 81 Neb. Admin.
Code, ch. 1, § 002.26, which defines “inmate” as “[a]ny indi-
vidual confined or residing in any jail facility,” as well as 81
Neb. Admin. Code, ch. 4, § 002.01B, which provides:
      Persons who are unconscious, seriously injured or those
      persons who appear to present a substantial risk of seri-
      ous harm to another person or a substantial risk of serious
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                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                     CHASE COUNTY v. CITY OF IMPERIAL
                             Cite as 302 Neb. 395
      harm to themselves within the near future as defined by
      the Nebraska Mental Health Commitment Act shall not be
      admitted to the jail facility unless examined and approved
      for admission by a medical authority or a licensed mental
      health authority.
   The court found that “a person is not ‘lodged’ in jail until
such person has been accepted by the facility after the person
and the arresting officer have complied with all requirements
for acceptance, including any medical examination of the
arrested person.” The court therefore concluded that Imperial
was responsible for paying the $436 medical bill to the hospi-
tal. Imperial appealed.

                       Court of A ppeals
   On appeal, Imperial assigned that the district court erred,
restated and reordered, in (1) determining that the arresting
agency is responsible for the arrestee’s medical costs when
the jailing agency required that the arrestee receive the care
prior to lodging the arrestee in the jail and (2) considering the
Nebraska jail standards regulations.
   The Court of Appeals determined that the language of
§ 47-703(2) was clear and unambiguous and that therefore, it
was precluded from looking beyond the words of the statute
to construe its meaning.3 As a result, the court determined that
consideration of and reference to the Nebraska jail standards
regulations was unnecessary and prohibited.4
   The court interpreted the language of § 47-703(2) and
found the first sentence of that section inapplicable, because
the arrestee did not require medical services as a result of
an injury or wound suffered during the course of the arrest.
The court then construed the second sentence of § 47-703(2)
and found that sentence applied in this case. The court did so

 3	
      See Chase County v. City of Imperial, 26 Neb. App. 219, 918 N.W.2d 631      (2018).
 4	
      Id.                                       - 400 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                     CHASE COUNTY v. CITY OF IMPERIAL
                             Cite as 302 Neb. 395
by emphasizing the phrase “[i]n all other cases.” The court
reasoned that based upon the clear language of § 47-703(2),
“the costs of medical services are chargeable to the agency
responsible for operation of the correctional facility where the
recipient is lodged in all cases where medical services were not
necessitated by injuries or wounds suffered during the course
of apprehension or arrest.”5
   The Court of Appeals rejected Chase’s contention that
Imperial was responsible for the medical costs due to the
fact that the services were rendered before the arrestee was
admitted into the jail. The court stated that the application of
§§ 47-701 and 47-702 “is not limited to only those arrestees
who are ultimately lodged into a correctional facility.”6 Under
its interpretation, the court did “not read § 47-703(2) to require
lodging the arrestee into the facility as a condition precedent
to holding [Chase] responsible for medical costs.”7 Rather,
the court viewed “the phrase ‘facility in which the recipient
of the services is lodged’ to describe the governmental agency
that operates the facility rather than to limit its responsibility
for payment.”8 The court supported its statutory interpretation
by reasoning that Chase’s position would allow a county “to
circumvent payment for medical services for any person who
is arrested, detained, or taken into cus­tody by requiring medi-
cal services for that individual prior to completing the book-
ing process.”9

                  Petition for Further R eview
   In its petition for further review, Chase assigns, restated,
that the Court of Appeals erred in (1) concluding that a jailing
agency’s obligation to pay the incurred medical costs begins

 5	
      Id. at 224, 918 N.W.2d at 635.
 6	
      Id. at 225, 918 N.W.2d at 636.
 7	
      Id.
 8	
      Id. at 226, 918 N.W.2d at 636.
 9	
      Id.
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                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                     CHASE COUNTY v. CITY OF IMPERIAL
                             Cite as 302 Neb. 395
“‘at the time such person is arrested, detained, taken into cus-
tody, or incarcerated’” and (2) concluding that the phrase “‘in
all other cases’” means that medical services are chargeable
to the jailing agency even when an arrestee receives medical
services prior to being lodged in the jail facility.
   Imperial contends that the Court of Appeals was correct
in determining that § 47-703(2) is clear and unambiguous.
Imperial agrees with the Court of Appeals’ reasoning that the
statute creates two discrete categories of circumstances regard-
ing the payment of medical services for an arrestee: (1) when
an arrestee requires medical care as the result of an injury
sustained during the course of apprehension or arrest, in which
event the arresting agency must provide payment, or (2) “all
other cases,” in which event the lodging agency must provide
payment. Imperial argues that preexisting intoxication falls
into the category of “all other cases.” Imperial further argues
that Chase is financially responsible, because Chase made the
request for the medical services.
   We granted Chase’s petition for further review. Sarpy County
filed a brief as amicus curiae in which it stated that it currently
is in receipt of a hospital payment demand under circumstances
factually similar to this case. Sarpy County argues that the
Court of Appeals’ interpretation failed to recognize that there
is “an evident statutory gap in § 47-703(2) for situations where
1) an arrestee is not lodged in a facility and 2) the cause of
[the] wound or injury did not occur as the result of the arrest
or apprehension.”10 Sarpy County argues that § 47-703(2) is
silent regarding an agency’s financial responsibility for medical
services in those two situations and that the Court of Appeals
erred by filling the gap rather than leaving the matter for
the Legislature.
                ASSIGNMENTS OF ERROR
   Chase assigns on petition for further review, restated, that
the Court of Appeals erred in (1) concluding that Chase’s

10	
      Brief for amicus curiae Sarpy County at 7.
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                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                     CHASE COUNTY v. CITY OF IMPERIAL
                             Cite as 302 Neb. 395
obligation to pay the incurred medical costs began “‘at the
time such person is arrested, detained, taken into custody, or
incarcerated’” and (2) concluding that the phrase “‘in all other
cases’” means that medical services are chargeable to the jail-
ing agency even when the recipient of the medical services was
not then lodged in the jail.
                  STANDARD OF REVIEW
   [1-3] In reviewing a summary judgment, the court views the
evidence in the light most favorable to the party against whom
the judgment was granted and gives such party the benefit of
all reasonable inferences deducible from the evidence.11 In an
appeal from a declaratory judgment, an appellate court, regard-
ing questions of law, has an obligation to reach its conclusion
independently of the conclusion reached by the court below.12
The interpretation of statutes and regulations presents ques-
tions of law, in connection with which an appellate court has
an obligation to reach an independent conclusion irrespective
of the decision made by the court below.13
                          ANALYSIS
   [4-6] Declaratory judgments are available when a present
actual controversy exists, all interested persons are parties to
the proceedings, and a justiciable issue exists for resolution.14
A justiciable issue requires a present, substantial controversy
between parties having adverse legal interests susceptible to
immediate resolution and capable of present judicial enforce-
ment.15 A declaratory judgment action cannot be used to deter-
mine the legal effects of a set of facts which are future,

11	
      Ray Anderson, Inc. v. Buck’s, Inc., 300 Neb. 434, 915 N.W.2d 36 (2018).
12	
      See id.13	
      Woodmen of the World v. Nebraska Dept. of Rev., 299 Neb. 43, 907
      N.W.2d 1 (2018).
14	
      Board of Trustees v. City of Omaha, 289 Neb. 993, 858 N.W.2d 186      (2015).
15	
      Id.                                    - 403 -
               Nebraska Supreme Court A dvance Sheets
                       302 Nebraska R eports
                     CHASE COUNTY v. CITY OF IMPERIAL
                             Cite as 302 Neb. 395
contingent, or uncertain.16 At the time that the declaration is
sought, there must be an actual justiciable issue from which
the court can declare law as it applies to a given set of facts.17
Declaratory relief cannot be used to obtain a judgment which
is merely advisory.18
   [7] This court has consistently recognized that a declara-
tory judgment action should not be entertained where another
equally serviceable remedy is available.19 A declaratory judg-
ment action can afford no relief to one who has failed to pursue
a full, adequate, and exclusive statutory remedy.20
   In this matter, Chase sought a declaration as to which
of the parties under this set of facts is the “appropriate
governmental agency” responsible for the costs of medical
serv­ices under § 47-703(2). However, as explained above,
the statutory scheme the parties ask this court to interpret
places primary responsibility on the recipient or the recipi-
ent’s ­insurer.21 Neither the parties, the district court, nor the
Court of Appeals considered whether, under § 47-702, the
arrestee or his insurer, if any, could pay the medical provider
in whole or in part.
   Section 47-703(1) provides that “[u]pon a showing that
reimbursement from the sources enumerated in section 47-702
is not available, in whole or in part, the costs of medical serv­
ices shall be paid by the appropriate governmental agency.”
The parties made no showing that the recipient or his insurer
could not pay for the medical costs, and as a result, the
analysis cannot proceed to declare the parties’ rights under
§ 47-703(2).

16	
      Id.
17	
      Id.
18	
      Nesbitt v. Frakes, 300 Neb. 1, 911 N.W.2d 598 (2018).
19	
      See, Mansuetta v. Mansuetta, 295 Neb. 667, 890 N.W.2d 485 (2017);
      Bentley v. School Dist. No. 025, 255 Neb. 404, 586 N.W.2d 306 (1998).
20	
      Boettcher v. Balka, 252 Neb. 547, 567 N.W.2d 95 (1997).
21	
      See §§ 47-702 and 47-703(1).
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           Nebraska Supreme Court A dvance Sheets
                   302 Nebraska R eports
                CHASE COUNTY v. CITY OF IMPERIAL
                        Cite as 302 Neb. 395
    The required showing under § 47-703(1) is not onerous.
Section 47-703(1) indicates that the provider of services shall
submit an affidavit to the agency stating:
      (a) in the case of an insurer, health maintenance organi-
      zation, preferred provider organization, or other similar
      source, a written denial of payment has been issued or
      (b) in all other cases, efforts have been made to identify
      sources and to collect from those sources and more than
      one hundred eighty days have passed or the normal col-
      lection efforts are exhausted since the medical services
      were rendered but full payment has not been received.
Section 47-703(1) indicates there is a low threshold regarding
the adequacy of the affidavit by stating that “[i]n no event shall
the provider of medical services be required to file a suit in a
court of law or retain the services of a collection agency to
satisfy the requirement of showing that reimbursement is not
available pursuant to this section.”
    No allegations within Chase’s complaint or any of the evi-
dence adduced on the motion for summary judgment make
the necessary showing under § 47-703(1). At argument before
this court, Chase admitted that it did not make a showing
to the district court that the recipient lacked the ability to
pay and Imperial admitted that it knew Chase did not ful-
fill this requirement and did not raise an argument based on
§ 47-703(1) as a defense in district court. Because the require-
ments of § 47-703(1) were not satisfied, there was no showing
that the “appropriate governmental agency” is liable for medi-
cal costs under § 47-703(2).
    Though we appreciate the importance of this case to the
parties and the far-reaching effects it may have on other
governmental agencies, no justiciable controversy pres-
ently exists regarding the parties’ rights under § 47-703(2).
A determination of responsibility under § 47-703(2), absent
the necessary showing under § 47-703(1), would be purely
advisory. In addition, based on the record, we must con-
clude that there remains for the parties an adequate statutory
                                     - 405 -
                Nebraska Supreme Court A dvance Sheets
                        302 Nebraska R eports
                     CHASE COUNTY v. CITY OF IMPERIAL
                             Cite as 302 Neb. 395
remedy under §§ 47-702 and 47-703(1). Declaratory judgment
is not available.
   We are aware that this may be a case of last impression
regarding the parties’ competing positions under § 47-703(2).
There are two different bills to amend § 47-703 currently
before the Legislature22; one of which identifies the very fac-
tual scenario now before us.
                          CONCLUSION
    We conclude that declaratory judgment is unavailable due
to the lack of a justiciable controversy between the parties. In
addition, declaratory judgment cannot provide the parties a
remedy, because a statutory remedy is available. We reverse
the judgment of the Court of Appeals with directions to reverse
and vacate the judgment of the district court.
                                    R eversed with directions.
   Papik, J., not participating.

22	
      See 2019 Neb. Laws, L.B. 216, § 1, and L.B. 455, § 2.
